                 Case 2:16-cr-00198-JAM Document 89 Filed 06/27/19 Page 1 of 2


 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for ANTONIA BRASLEY
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 16-198 JAM
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND
            v.                                      ) ORDER MODIFYING THE SCHEDULE
10                                                  ) FOR Ms, BRASLEY’S PRE-SENTENCE
                                                    ) REPORT FOR A NEW SENTENCING DATE
11
     ANTONIA BRASLEY,                               ) OF SEPTEMBER 10, 2019
12
                                                    )
                     Defendant.                     ) Judge: Hon. John A. Mendez
13   ================================)
14
            Defendant Antonia Brasley is requesting a three-week continuance of his sentencing hearing,
15

16
     which is presently set for July 16, 2019. AUSA Christopher Hales, on behalf of the United States

17   Attorney’s Office, and USPO Erica Tatum, on behalf of the United States Probation Office, have no
18   objection to the requested continuance. The parties hereby stipulate to re-set the schedule for the pre-
19
     sentence report as follows:
20
            Judgment and Sentencing Date: September 10, 2019 at 9:15 a.m.
21
            Reply, or Statement of Non-opposition: September 3, 2019
22

23          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: August 27, 2019
24
            The Presentence Report shall be filed with the Court and disclosed to the parties no
25
            later than: August 20, 2019
26
            Counsel’s written objections to the Presentence Report shall be delivered to the
27          Probation Officer and opposing counsel no later than: August 13, 2019
28




                                                      -1-
              Case 2:16-cr-00198-JAM Document 89 Filed 06/27/19 Page 2 of 2


 1          The proposed Presentence Report shall be disclosed to counsel no later than: July 30,
            2019
 2

 3
     Dated: June 26, 2019                                Respectfully submitted,
 4
                                                         /s/ Michael D. Long
 5
                                                         MICHAEL D. LONG
 6                                                       Attorney for Antonia Brasley

 7
     Dated: June 26, 2019                                McGREGOR SCOTT
 8
                                                         United States Attorney
 9
                                                         /s/ Christopher Hales
10                                                       CHRISTOPHER HALES
11
                                                         Assistant U.S. Attorney

12                                          ORDER
13          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
14
            The Court hereby orders that the schedule for Ms. Brasley’s pre-sentence report is
15   amended as follows:
16
            Judgment and Sentencing Date: September 10, 2019 at 9:15 a.m.
17

18
            Reply, or Statement of Non-opposition: September 3, 2019

19          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: August 27, 2019
20

21
            The Presentence Report shall be filed with the Court and disclosed to the parties no
            later than: August 20, 2019
22
            Counsel’s written objections to the Presentence Report shall be delivered to the
23          Probation Officer and opposing counsel no later than: August 13, 2019
24
            The proposed Presentence Report shall be disclosed to counsel no later than: July 30,
25          2019

26
     Dated: June 26, 2019                        /s/ John A. Mendez_____________
27
                                                 Hon. JOHN A. MENDEZ
28                                               United States District Court Judge



                                                   -2-
